                      UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK
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BLAKE LIVELY,                            |
                                         |
                        Plaintiff,       |
      v.                                 |  No. 24-cv-10049 (LJL) (lead case)
                                         |
WAYFARER STUDIOS LLC, et al.,            |
                                         |
                        Defendants.      |
________________________________________ |
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WAYFARER STUDIOS LLC, et al.,            |
                                         |
                        Plaintiffs,      |
      v.                                 |  No. 25-cv-449 (LJL) (member case)
                                         |
BLAKE LIVELY, et al.,                    |
                                         |
                        Defendants.      |
________________________________________ |

                         BRIEF AMICUS CURIAE
   BY EQUAL RIGHTS ADVOCATES, CALIFORNIA EMPLOYMENT LAWYERS
          ASSOCIATION, AND CALIFORNIA WOMEN’S LAW CENTER
     IN SUPPORT OF DEFENDANT BLAKE LIVELY’S MOTION TO DISMISS
               BASED ON CALIFORNIA ASSEMBLY BILL 933

                                               ALEXIS RONICKHER*
                                               REBECCA PETERSON-FISHER*
                                               RACHEL E. GREEN*
                                               KATZ BANKS KUMIN LLP
                                               235 Montgomery Street, Suite 665
                                               San Francisco, CA 94104
                                               (415) 813-3260
                                               * Pro hac vice forthcoming

                                               DANA BOLGER
                                               KATZ BANKS KUMIN LLP
                                               111 Broadway, Suite 1702
                                               New York, NY 10006
                                               (646) 759-4501

                                               Counsel for Proposed Amici Curiae
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                                     INTEREST OF AMICI

       Amici are organizations that drafted and/or championed passage of California Assembly

Bill 933 (“AB 933”), now codified at California Civil Code § 47.1 and at issue in this case. As

organizations that serve California workers, they share a special interest in ensuring that courts

apply the intended legal approach to the new statute, to ensure that all Californians—particularly

low- and middle-income individuals who cannot afford legal defense for speaking out about

sexual harassment and abuse—enjoy the full and robust protections that state lawmakers

intended.

       Equal Rights Advocates (“ERA”) is a national nonprofit legal organization that

advocates for gender justice in workplaces and schools across the country. Since its founding in

1974, ERA has been fighting on the front lines of social justice to protect and advance rights and

opportunities for women, girls, and people of all gender identities through litigating

groundbreaking legal cases on behalf of workers who have experienced civil rights violations,

including sexual harassment and other forms of discrimination. ERA has also led vital policy

reform to strengthen protections against sexual harassment and other forms of harassment and

discrimination in California as well as in other states and at the federal level. In addition, ERA

has participated as amicus curiae in scores of cases involving the interpretation and application

of legal rules and laws affecting workers’ and survivors’ rights and access to justice. ERA has a

strong interest in ensuring that victims of sexual assault, sexual harassment, and other forms of

harassment and discrimination remain able to exercise their right to speak freely and openly

about harassment and abuse without fear of retaliation and intimidation—particularly retaliation

and intimidation by perpetrators who seek to use the legal system to silence such victims. ERA




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drafted and co-sponsored the legislation at issue here, AB 933, and successfully advocated for its

passage.

       California Employment Lawyers Association (“CELA”) is a statewide organization of

more than 1,300 California attorneys whose members primarily represent employees in a wide

range of employment cases, including actions enforcing California’s laws prohibiting

discrimination, harassment, and retaliation in employment. The organization has taken a leading

role in advancing and protecting the rights of California workers, including advocating for and

proposing legislation, as well as submitting amicus briefs and letters and appearing before the

California Supreme Court, California appellate courts, and the Ninth Circuit Court of Appeals in

employment rights cases, including numerous cases involving the interpretation of relevant

employment laws. CELA co-sponsored AB 933 and was key to its successful passage.

       The California Women’s Law Center (“CWLC”) is a statewide, nonprofit law and

policy center dedicated to advancing the civil rights of women and girls. CWLC’s mission is to

create a more just and equitable society by breaking down barriers and advancing the potential of

women and girls through impact litigation, policy advocacy, and education. Since its inception

in 1989, CWLC has placed particular emphasis on eradicating all forms of discrimination and

violence against women. CWLC provides legal assistance to survivors of abuse, advocates for

survivors on important legislative issues, and offers training and legal support for attorneys, legal

service providers, and counselors regarding the legal protections of survivors of violence.

CWLC advocated for adoption of the California law at issue here and has a strong interest in

ensuring that survivors can speak out without fear of retaliation.




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                                         INTRODUCTION

        One of Time Magazine’s top 100 influential people of 2025, 1 Blake Lively is anything

but an average person. But her experience of being sued for defamation after speaking out about

sexual harassment is all too common. Hundreds of retaliatory defamation suits have been filed

against sexual harassment and assault victims for publicly disclosing their abuse in recent years.

Indeed, on its legal hotline, Amicus Curiae Equal Rights Advocates (“ERA”) has heard from

dozens of low- and middle-income workers, students, and others who were threatened with or

forced to defend themselves against such suits, in retaliation for speaking about abuse they

experienced—or were chilled from speaking out at all, for fear that they would become targets of

such retaliatory litigation tactics by their abusers.

        To combat this onslaught of retaliatory defamation suits, in 2023, ERA joined Amicus

Curiae California Employment Lawyers Association (“CELA”) to draft and champion the

passage of Assembly Bill 933 (“AB 933”). This legislation clarified that an individual’s

communication regarding an incident of sexual assault, harassment, or discrimination they

experienced is privileged, provided it was made without malice. It also created a fee-shifting

provision and authorized recovery of damages. The intent of AB 933 was to protect survivors

from defamation lawsuits filed against them, to deter abusers from filing retaliatory defamation

suits, and to combat the pervasive silencing of survivors that enables sexual harassment and

assault to persist at epidemic rates.

        This action is the first test of AB 933, and survivors are watching. If the law does not

protect a powerful and resourced person such as Ms. Lively, then survivors without power or

resources—the vast majority—will not risk speaking out about sexual assault or harassment at


1
 Sherrilyn Ifill, The 100 Most Influential People of 2025: Blake Lively, Time (Apr. 16, 2025, 6:30 AM
ET), https://time.com/collections/100-most-influential-people-2025/7273807/blake-lively/.
                                                  -1-
all. The #MeToo movement taught us the result of that silence: systemic and unchecked abuse at

great personal and societal cost.

                                             ARGUMENT

    I. Defamation Lawsuits Are a Form of Retaliation that Chill Reports of Sexual Assault
       and Harassment.

        Millions of people in California and across the United States are sexually assaulted and

harassed in their lifetimes, but very few survivors come forward to seek help. Those who do

frequently face retaliation. In recent years, harassers have increasingly targeted their victims

with retaliatory defamation lawsuits, weaponizing the legal process against those who dare to

speak up and silencing many others from speaking out altogether.

                A. Sexual Assault and Harassment Are Common Yet Vastly Underreported.

        Every sixty-eight seconds, a person in this country is sexually assaulted. 2 According to

estimates by the Centers for Disease Control and Prevention (“CDC”), 54% of women and 31%

of men in the United States experience some form of sexual violence in their lifetime. 3 In

California, more than 8.6 million women have been victims of sexual violence, including more

than 4.5 million victims of completed or attempted rape. 4 Sexual assault has persisted at those




2
 Rape, Abuse & Incest National Network, Victims of Sexual Violence: Statistics,
https://rainn.org/statistics/victims-sexual-violence (last visited May 16, 2025) (hereinafter “RAINN
Statistics”).
3
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2016/2017 State Report, 25–26 (Dec. 2023),
https://web.archive.org/web/20241206151940/https://www.cdc.gov/nisvs/documentation/NISVS-2016-
2017-State-Report-508.pdf.


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same epidemic levels for decades. 5 Despite these extraordinarily high rates of victimization,

most survivors do not report. The U.S. Department of Justice estimates that only one in five

sexual assaults are reported to the police; 6 in the workplace, only an estimated 6–13% of sexual

harassment victims file a formal complaint with their employer. 7

        As the #MeToo movement revealed, this silence has costs, because reporting benefits

both individual survivors and the broader public. For some survivors, reporting can help reassert

control in their lives; provide an opportunity for redress or accountability from the perpetrator,

the employer, or both; remedy the physical, psychological, and financial impacts of misconduct;

and reduce stigma and self-blame. 8 For society, reporting can prompt shifts in societal

understanding of sexual assault and harassment and protect other potential victims. 9

        Despite these benefits, survivors often do not feel safe coming forward. Some feel shame

or embarrassment, or fear they will not be believed. 10 Others are all too aware of the reality that


5
 See Patricia Tjaden & Nancy Thoennes, Nat’l Inst. of Justice, Ctrs. for Disease Control & Prevention,
Prevalence, Incidence, and Consequence of Violence Against Women: Findings from the National
Violence Against Women Survey, 3 (Nov. 1998), https://www.ojp.gov/pdffiles/172837.pdf.
6
 Alexandra Thompson & Susannah Tapp, Dep’t of Just. Bureau of Just. Stats., Criminal Victimization,
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7
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(observing that “gender-harassing conduct was almost never reported; unwanted physical touching was
formally reported only 8% of the time” and “on average, anywhere from 87% to 94% of individuals did
not file a formal complaint”) (emphasis in original).
8
 Katherine Bogen, Kaitlyn Bleiwiss & Lindsay Orchowski, Sexual Violence is #NotOkay: Social
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9
 Anna E. Jaffe, Ian Cero & David DiLillo, The #MeToo Movement and Perceptions of Sexual Assault:
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(2021), https://pmc.ncbi.nlm.nih.gov/articles/PMC8713172/#R5.
10
  Jasmine Tucker & Jennifer Mondino, Nat’l Women’s L. Ctr., Coming Forward: Key Trends and Data
from the TIME’S UP Legal Defense Fund 11 (2020), https://nwlc.org/wp-


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employers, colleagues, or jurors might believe false and harmful sex stereotypes and “rape

myths”—common false beliefs about sexual assault—dismissing or minimizing allegations and

shifting blame to victims.11 But by far the most prevalent fear that survivors share is that they

will be subjected to retaliation for speaking up. 12 And when this fear deters survivors from

reporting sexual harassment and abuse, serial abusers are able to continue victimizing others,

sometimes for decades. 13




content/uploads/2020/10/NWLC-Intake-Report_FINAL_2020-10-13.pdf (hereinafter Coming Forward).
See also Louise F. Fitzgerald & Karla Fischer, Why Didn’t She Just Report Him? The Psychological and
Legal Implications of Women’s Responses to Sexual Harassment, 51 J. of Soc. Issues 117, 127 (1995);
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not improve—and at times worsened—job, psychological, and health outcomes).
11
     Diana Scully, Understanding Sexual Violence: A Study of Convicted Rapists 52 (1990).
12
   Michael Planty, et al., Female Victims of Sexual Violence, 1994–2010, Dep’t of Justice—Bureau of
Just. Stats., 7 (rev. May 31, 2016, 12:08 PM), https://bjs.ojp.gov/content/pub/pdf/fvsv9410.pdf; Coming
Forward, supra note 10 at 4, 12–15 (finding that 72% of people requesting legal assistance from the
Times Up Legal Defense Fund said they experienced retaliation in some form after reporting or trying to
stop the harassment; 15% who experienced retaliation said they were slandered or had their reputation
damaged in some way by their perpetrator or employer; and 36% of people who experienced retaliation
were fired from their job). See also Chloe Grace Hart, The Penalties for Self-Reporting Sexual
Harassment, 33 Gender & Soc’y 534, 550 (2019) (“[T]here is indeed a significant penalty in promotion
likelihood against the employee who self-reported sexual harassment.”).
13
  See, e.g., Jodi Kantor & Megan Twohey, Harvey Weinstein Paid Off Sexual Harassment Accusers for
Decades, N.Y. Times (Oct. 5, 2017), https://www.nytimes.com/2017/10/05/us/harvey-weinstein-
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                  B. Abusers Weaponize Defamation Lawsuits Against Survivors to Silence
                     Them and Deflect Culpability.

          Survivors’ concerns about retaliation are well-founded. 14 While termination from

employment remains the most common form of retaliation, 15 harassers and assailants are

increasingly using baseless defamation suits and other abusive lawsuits to coerce their victims

into withdrawing their claims or to deter them from reporting in the first place. Dubbed the

“legal backlash to the MeToo movement,” 16 retaliatory defamation lawsuits against survivors of

sexual assault and harassment have increased at alarming rates in the past decade as survivors

spoke out and cultural pressure to impose consequences on abusers grew in the wake of #MeToo

in Fall 2017.

          Lawyers who represent sexual assault survivors have reported exponential increases in

threats of retaliatory defamation lawsuits. In 2017, a lawyer for the Victim Rights Law Center

remarked that threats of defamation lawsuits against sexual assault survivors had risen from 5%

of her caseload a few years prior to over half of it. 17 In 2020, another attorney reported that,

prior to 2017, he had received inquiries twice a year from survivors who feared retaliatory

defamation suits, but now he received such inquiries every two weeks. 18 In 2020, a National


14
  In the workplace, retaliation is by far the most common type of discrimination reported to the EEOC,
comprising more than half of all EEOC charges in every year from 2018 to 2023. Enforcement and
Litigation Statistics, Charge Statistics, Charge Receipts: Retaliation-Based, EEOC,
https://www.eeoc.gov/data/enforcement-and-litigation-statistics-0 (last visited May 16, 2025).
15
     Coming Forward, supra note 10 at 4.
16
  Madison Pauly, She Said, He Sued, Mother Jones (Mar./Apr. 2020),
https://www.motherjones.com/criminal-justice/2020/02/metoo-me-too-defamation-libel-accuser-sexual-
assault/ (hereinafter She Said, He Sued).
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  Tyler Kingkade, As More College Students Say “Me Too,” Accused Men Are Suing for Defamation,
Buzzfeed (Dec. 5, 2017, 11:26 AM), https://www.buzzfeednews.com/article/tylerkingkade/as-more-
college-students-say-me-too-accused-men-are-suing.
18
     She Said, He Sued, supra note 16.
                                                  -5-
Women’s Law Center (“NWLC”) report found that being sued for defamation is the third most

common form of workplace retaliation reported by survivors. 19 Indeed, the California legislature

enacted AB 933 after a then-California state lawmaker sued a lobbyist for reporting his sexual

misconduct. 20

          These retaliatory lawsuits have become a core part of abusers’ playbook to deny the

abuse, attack their victims’ credibility, and cast themselves as the real “victim”—a tactic

psychologists term “DARVO” or “Deny, Attack, Reverse Victim and Offender.” 21 Under

DARVO, the abuser “denies or minimizes the harms of any wrongdoing, attacks the victim’s

credibility, and reverses victim and offender roles such that the [abuser] assumes a victimized

position and declares the victim to be the true [abuser].” 22

          DARVO works. An experiment showed third-party observers exposed to DARVO are

more likely to perceive the perpetrator as less abusive and less responsible and more likely to

view the victim as less credible, more abusive, and more responsible for their own

victimization. 23




19
     Coming Forward, supra note 10, at 13.
20
     She Said, He Sued, supra note 16.
21
  Sarah J. Harsey & Jennifer J. Freyd, Defamation and DARVO, 23(5) J. Trauma & Dissociation 481,
482 (Aug. 18, 2022),
https://www.tandfonline.com/doi/10.1080/15299732.2022.2111510?url_ver=Z39.88-
2003&rfr_id=ori:rid:crossref.org&rfr_dat=cr_pub%20%200pubmed (hereinafter Defamation and
DARVO).
22
  Sarah Harsey & Jennifer J. Freyd, Deny, Attack, and Reverse Victim and Offender (DARVO): What Is
the Influence on Perceived Perpetrator and Victim Credibility?, 29 J. of Aggression, Maltreatment &
Trauma 897 (2020), https://www.tandfonline.com/doi/full/10.1080/10926771.2020.1774695#abstract.
23
     Defamation and DARVO, supra note 21, at 482.


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       Retaliatory defamation suits apply the DARVO framework by reversing the traditional

role of victim-plaintiff and abuser-defendant. According to Ms. Lively’s description in her

amended complaint and motion to dismiss, Mr. Baldoni has used DARVO here: he denied her

allegations, attacked her directly, and engaged in an extensive social media and public relations

campaign to reverse victim and offender, including by filing the present suit together with the

other plaintiffs (the “Baldoni Plaintiffs”). ECF No. 84 at 61–119; ECF No. 145 at 15–17.

       Retaliatory DARVO defamation suits harm survivors both emotionally and financially.

In 2018, the U.N. Special Rapporteur on Violence Against Women called the act of threatening

survivors with legal proceedings a form of gender-based violence. 24 That is because in

defamation lawsuits, survivors who already bear physical and mental health consequences from

the underlying incidents 25 are forced to repeatedly relive the trauma through litigation, including

court filings, depositions, and court testimony. They are forced to disclose sensitive and

potentially embarrassing private information through invasive discovery. And perhaps most

troubling, they must endure continued unwanted interaction with their harasser throughout the

litigation process—often being forced to testify at deposition or trial within feet of the person

who harmed them.




24
  Report of the Special Rapporteur on Violence Against Women, Its Causes and Consequences on Online
Violence Against Women and Girls from a Human Rights Perspective, United Nations General Assembly,
Human Rights Council, at 9 (June 18, 2018), https://docs.un.org/en/A/HRC/38/47.
25
  See, e.g., RAINN Statistics, supra note 2 (collecting studies showing that “94% of women who are
raped experience symptoms of [PTSD] during the two weeks following the rape[;] 30% of women report
symptoms of PTSD 9 months after the rape[;] 33% of women who are raped contemplate suicide[;] 13%
of women who are raped attempt suicide[;] [a]pproximately 70% of rape or sexual assault victims
experience moderate to severe distress”) (citations omitted).


                                                -7-
        The financial costs of defending a defamation lawsuit are also debilitating for survivors

of sexual assault and harassment. 26 According to the U.S. Census, the 2023 median annual

earning for women in the United States was just over $40,000. 27 One #MeToo accuser-

defendant in a defamation suit reported spending $30,000 on her own defense. 28 Indeed, the

financial burden of defending against a defamation lawsuit is one of the main reasons these suits

tend to evoke so much fear in survivors. 29 In Amici’s experience, low-to-moderate income

workers often are simply unable to risk potential financial ruin to speak up about sexual

harassment. 30

        These lawsuits, particularly when highly publicized, serve to silence other victims of

sexual harassment and assault. Research shows that the increase in retaliatory defamation suits


26
   Survivors suffer steep emotional and financial costs from sexual violence, including an estimated
lifetime cost, on average, of over $120,000 due to medical expenses, lost productivity, and lost wages and
benefits. See Cora Peterson, Sarah DeGue, Curtis Florence & Colby N. Lokey, Lifetime Economic
Burden of Rape Among U.S. Adults, 52(6) Am. J. Prev. Med. 691, 695 (June 1, 2017),
https://pmc.ncbi.nlm.nih.gov/articles/PMC5438753/ (noting that the figure is an average figure and would
vary, sometimes significantly, from one victim to another, and that the study did not include non-
monetary elements like pain and suffering). Being forced to defend against a long and expensive
retaliatory defamation lawsuit only exacerbates these costs.
27
  Gloria Guzman & Melissa Kollar, Income in the United States: 2023, at 9 (Sept. 2024),
https://www2.census.gov/library/publications/2024/demo/p60-282.pdf.

 Jamie R. Abrams, The Increasing Complexity of Defamation Law in #MeToo Era Lawsuits, Louisville
28

Bar Briefs, 22 (June 2021), https://perma.cc/FCJ7-FBGR.
29
  Chelsey N. Whynot, Retaliatory Defamation Suits: The Legal Silencing of the #MeToo Movement, 94
Tulane L. Rev. 1, 13 (2020), https://www.tulanelawreview.org/tlr-online/retaliatorydefamation
(Comment) (hereinafter “Whynot, Retaliatory Defamation Suits”).
30
  See, e.g., Luz S. Marin et al., Workplace Sexual Harassment and Vulnerabilities among Low-Wage
Hispanic Women, 5 Occupational Health Sci. 391, 395 (2021) (of all of the reasons provided by survivors
of workplace sexual harassment to explain their reluctance to report, the most common barrier was fear of
being fired and losing their source of income (34%)); Nancy Krieger et al., Social Hazards on the Job:
Workplace Abuse, Sexual Harassment, and Racial Discrimination—A Study of Black, Latino, and White
Low-Income Women and Men Workers in the United States, 36 J. of Health Servs. 51 (2014) (workers in
low-income jobs are more likely to be in financial stress, which erodes their ability to cope with
workplace sexual harassment).


                                                   -8-
has already had a chilling effect on survivors’ willingness to report, and experts worry that the

recent influx will only “further discourage reporting.” 31 After all, if Ms. Lively, one of the most

influential women in the United States, is forced to endure abusive litigation because she spoke

out about sexual harassment in her workplace, why would survivors with low-to-moderate

resources risk speaking out?

          Fortunately, lawmakers across the country have recognized that retaliatory defamation

lawsuits threaten the progress the #MeToo movement has achieved toward holding abusers

accountable and ending sexual harassment and assault. In California and other jurisdictions,

lawmakers have passed or introduced numerous laws to protect survivors from retaliatory

defamation actions and other abusive lawsuits. See, e.g., Cal. Civ. Code § 47.1 (2023) (creating

privilege for statements made without malice about sexual assault, harassment, or

discrimination); N.Y. Civil Rights Law § 76-a (2020) (extending anti-SLAPP law to protect

more people, including survivors); R.I. Gen. Laws Ann. § 8-8.4-1 et seq. (2023) (allowing

survivors to request a court order restricting abusive litigation); Vt. Stat. Ann. § 1181 et seq.

(2023) (same); Wash. Rev. Code Ann. § 26.51.010 et seq. (2020) (same); Tenn. Code Ann. § 29-

41-101 et seq. (2018) (same); H.B. 7134, 2025 Gen. Assemb. (Conn. 2025) (amending anti-

SLAPP law to explicitly protect survivors); H.B. 3973, 194th Gen. Ct. (Mass. 2025) (creating

privilege for statements made without malice about sexual assault, harassment, or

discrimination); S.B. 549 & H.B. 629, 447th Gen. Assemb. (Md. 2025) (protecting allegations of

“sexually assaultive behavior” made without malice, intent, or reckless disregard from civil

liability).

          How courts interpret these laws will determine whether they are effective.


31
     Whynot, Retaliatory Defamation Suits, supra note 29, at 13.


                                                    -9-
   II. Amici and the California Legislature Intended for AB 933 to Shield Harassment and
       Assault Victims from Retaliatory Defamation Litigation.

          In 2023, in response to the increased weaponization of retaliatory defamation suits, the

California Legislature passed AB 933 with the express intent to shield harassment and assault

survivors from retaliatory defamation lawsuits. The Legislature intended for AB 933 to protect

individuals who reported sexual harassment without malice from retaliatory litigation,

particularly abusive discovery.

                 A. AB 933 Made Two Key Improvements to Existing Law.

          Under California law, individuals may file defamation actions for unprivileged

statements that injure their reputations. Cal. Civ. Code §§ 44–46. AB 933 created two key

provisions to curtail the weaponization of such actions against survivors.

          First, it expressly clarified that communications are privileged—and thus protected from

a defamation action—where they are made “by an individual, without malice, regarding an

incident of sexual assault, harassment, or discrimination.” Cal. Civ. Code § 47.1(a) (the

“Privilege Provision”). It defined “communication” as “factual information related to an

incident of sexual assault, harassment, or discrimination experienced by the individual making

the communication.” Id. § 47.1(d). Notably, it clarified that such communications were

protected regardless of whether they were made in an official complaint of abuse or not. Id.

§ 47.1(c) (applying privilege where speaker had “a reasonable basis to file a complaint of sexual

assault, harassment, or discrimination, whether the complaint . . . was[] filed or not”) (emphasis

added).

          Second, AB 933 authorized treble damages, attorneys’ fees and costs, and punitive

damages for any survivor who prevails in such a defamation suit (the “Damages Provision”). Id.

§ 47.1(b) (“A prevailing defendant in any defamation action brought against that defendant for


                                                 - 10 -
making a communication that is privileged under this section shall be entitled to their reasonable

attorney’s fees and costs for successfully defending themselves in the litigation, plus treble

damages for any harm caused to them by the defamation action against them, in addition to

punitive damages under Section 3294 or any other relief otherwise permitted by law.”).

        AB 933 passed with overwhelming support and was promptly signed by the Governor. 32

It went into effect January 1, 2024. It has not yet been interpreted by any court.

                B. AB 933’s Drafters Intended the Legislation to Address Two Distinct
                   Problems.

        AB 933 was drafted to achieve two distinct goals: (1) to shield victims from the

discovery process by ensuring they would prevail at the motion to dismiss stage in most

circumstances; and (2) to remedy the financial and psychological costs of the litigation and deter

abusers from pursuing unwarranted and retaliatory litigation in the first place.

                    1. Preventing Abusive Discovery

        Prior to AB 933, one of the most significant burdens for victims defending against a

retaliatory defamation suit was the (ab)use of discovery to re-traumatize survivors by invading

their privacy, disrupting their relationships, and causing financial distress.

        Attorneys at Amici ERA and CELA have witnessed how retaliatory defamation suits,

including abusive discovery practices, can cause harmful psychological and financial harm to

survivors. 33 They have routinely heard from survivors who chose not to speak up about

harassment and violence at all, so to avoid abusive discovery tactics.


32
  See California Legislative Information, AB 933 Privileged Communications: Incident of Sexual Assault,
Harassment, or Discrimination (2023-2024)
https://leginfo.legislature.ca.gov/faces/billVotesClient.xhtml?bill_id=202320240AB933.
33
  For instance, through its legal hotline, ERA was contacted by a survivor whose abuser had sued her for
defamation based on her reporting her assault to the dean of her university. The survivor was only 19


                                                 - 11 -
        Amici’s concern about harassers’ abuse of the discovery process was shared by AB 933’s

legislative champion, Assemblymember Cecilia Aguiar-Curry. She explained to her colleagues

that retaliatory defamation suits forced survivors “to endure lengthy and costly discovery,”

which “‘can entail a number of personal and invasive requests, including requiring the survivor

to sit for a deposition during which [they] will be interrogated about matters relevant to the case

[and] having the survivor answer questions relating to the case in writing via interrogatories and

requests for admission, obligating the survivor to sift through all documentation [they] ha[ve]

that is relevant to the case.’” ECF No. 146-1 at 57 (quoting Nicole Ligon, Protecting Women’s

Voices: Preventing Retaliatory Defamation Claims in the #MeToo Context, 94 St. John’s L. Rev.

961, 965 (2022)).

        Indeed, in advocating for AB 933 to correct the shortcomings of existing law,

Assemblymember Aguiar-Curry cited a recent court decision that had recognized the “chilling

effect” that defamation suits had on the reporting of sexual harassment, undermining the “strong

public policy in favor of reporting workplace misconduct.” ECF No. 146-1 at 53–54 (quoting

Mitchell v. Fujitec Am., Inc., 518 F. Supp. 3d 1073, 1086 (S.D. Ohio 2021)). She quoted the

court’s observation that, under existing law:

        Essentially, any time a sexual harassment claim includes objectively verifiable facts
        (e.g., ‘Employee A inappropriately touched me at the office party’), and the accused
        person disputes those facts in her complaint in an objectively verifiable way (e.g.,
        ‘I was never even in the same room as my accuser at that party’), that appears to be
        enough to survive dismissal. In such cases, the plaintiff’s allegation, if believed,
        necessarily entails that the defendant is lying, which under [existing] law deprives
        that person of the qualified privilege.

years old. Desperate, she told ERA, “I can’t begin to explain what this case has done to me, and I can’t
even imagine what it’s done [to] others.” Likewise, a CELA attorney represented a client who asserted
claims against the person who sexually assaulted her, only to have the assailant threaten to sue her for
defamation. She became mentally distraught and suicidal as a result. Yet another CELA attorney
represented a woman who was subjected to sexual violence and stalking; after she complained, the person
who harmed her sought a temporary restraining order to silence her and threatened further legal action. It
caused her significant financial, emotional, and reputational harm.
                                                  - 12 -
ECF No. 146-1 at 55 (quoting 518 F. Supp. 3d at 1086).

        Against this backdrop of existing law, which enabled abusers to proceed to discovery in

most defamation cases, AB 933 was meant to ensure that a harasser’s allegation that a survivor

was lying about the underlying harassment would no longer be sufficient to survive a motion to

dismiss where pleadings (and other documents of which a court could take judicial notice)

establish a reasonable basis for the alleged defamatory statement(s).

        The statutory fix intended by AB 933 would be undermined if retaliatory defamation

cases are allowed to continue to proceed to discovery by providing nothing more than conclusory

denials coupled with bare assertions the survivor maliciously lied about the assault or

harassment. 34 Doing so would ensure that abusers could gain access to discovery—one of the

prime weapons in retaliatory defamation suits—simply by denying any misconduct and

including conclusory allegations that the survivor had the requisite malice. An interpretation of

AB 933 that permits such an action to proceed, despite the lack of factual allegations to support

the conclusory pleading of malice, would eviscerate one of the main protective purposes of the

law.

                    2. Compensating Survivors and Deterring the Filing of Abusive and
                       Retaliatory Lawsuits

        The Damages Provision was also a critical component of AB 933, since it provided for

payment of attorneys’ fees, compensated victims for the harm caused by the retaliatory suit, and

authorized punitive damages to dissuade future misconduct.




34
  Of course, AB 933 allows for the rare case to proceed to discovery in which an accused actually pleads
factual allegations that rely on more than conclusory denials and assertions.


                                                 - 13 -
        As the American Association of University Women–California (“AAUW-CA”) noted in

its Support Memo endorsing AB 933, “For those unable to afford legal representation, SLAPP

suits silence survivors who have come forward, and those who consider sharing their abuse.”

ECF 146-1 at 42. As Amici ERA and CELA explained in their AB 933 Support Memo, “The

threat of having to engage in years of litigation . . . and take on the burden of responding to an

expensive, resource-draining SLAPP suit . . . discourages others from coming forward to share

their experience. In fact, the financial burden of defending against a defamation suit is one of the

main reasons these suits tend to evoke so much fear in survivors.” ECF 146-1 at 37. By

entitling victims to recovery of attorneys’ fees and costs, AB 933 provides a mechanism for

attorneys to defend low- and middle-income survivors, who would not have the resources to pay

an attorney at an hourly rate. 35

        The Damages Provision also authorizes the recovery of treble damages, to compensate

victims for the emotional and psychological costs of abusive litigation. Amici ERA and CELA

and Assemblymember Aguiar-Curry noted the significant emotional and psychological hardship

survivors faced in having to defend not only a lawsuit but one specifically brought by their

abuser. See, e.g., ECF 146-1 at 38 (“Even if they will ultimately prevail against such an attack,

survivors are often unable to take on the . . . emotional toll of such lengthy and costly

litigation.”). Accordingly, they specifically drafted—and the California Legislature passed—the




35
   On its legal hotline, ERA regularly heard from survivors facing retaliatory defamation claims who were
unable to find legal counsel to assist them. One survivor reached out to ERA after receiving a series of
threatening and aggressive letters from an attorney who had been retained to sue the survivor for
defamation following their Title IX complaint to their school. The attorney—retained by the person who
had sexually assaulted the student—demanded large sums of money in exchange for their client not filing
a retaliatory defamation claim. Despite searching for over a month, ERA was unable to arrange pro bono
assistance for the student with respect to the threatening letters.
                                                 - 14 -
Damages Provision to authorize treble damages for the economic, emotional, and psychological

harms survivors suffer when defending themselves in retaliatory suits brought by their abusers.

        Finally, the Damages Provision authorizes recovery of punitive damages, reflecting the

Legislature’s desire to deter harassers from bringing such retaliatory litigation in the first place.

See, e.g., ECF 146-1 at 73 (Senate Judiciary committee report noting that the “bill’s fee-shifting

provisions will deter SLAPP suits against the victims of sexual abuse, harassment, and

discrimination before they are filed”); id. at 34 (committee report noting that “the bill likely

functions to dissuade litigation against those who have made the difficult decision to come

forward about their experiences”).

     III. Denying Ms. Lively’s Motion to Dismiss Would Undermine the AB 933 Framework
          and Deter Future Survivor Reports of Sexual Assault and Harassment.

        Recognizing that defamation suits are effective in silencing victims, or coercing them

into withdrawing their claims, the California Legislature crafted AB 933 to protect survivors’

reports in a manner that would avoid abusive discovery. Should this Court deny Ms. Lively’s

motion to dismiss and permit the Baldoni Plaintiffs’ retaliatory lawsuit against her to proceed, it

would undermine this carefully crafted framework—not only for Ms. Lively but also for the

thousands of current and future victims in California who depend on AB 933’s protections and

remedies to defend themselves from similar suits. 36




36
  To make an end-run around AB 933, the Baldoni Plaintiffs argue that the law only protects the
individual who makes the statement (here, Ms. Lively). Yet they then attempt to argue that both Mr.
Reynolds and Ms. Sloane are agents of Ms. Lively, so she is liable for statements they made even if she
would not be liable under AB 933 for making those same statements. Even if Mr. Reynolds or Ms.
Sloane are found to be agents of Ms. Lively, any statements they made as her agent should fall under the
privilege protection of AB 933 if they would have been privileged had Ms. Lively made them herself.
Finding otherwise would undercut the purpose of AB 933 by stripping victims of the protections of
AB 933.


                                                  - 15 -
        Ms. Lively is a public figure, and this lawsuit has captured the attention of the American

public. The outcome of this motion will affect the decision-making of other victims of sexual

harassment and assault. 37 The Baldoni Plaintiffs have already signaled their intent to follow the

abusive discovery playbook by invading Ms. Lively’s privacy and disrupting her relationships, as

frequently happens with other survivors who speak up. Indeed, in a seeming gambit to disrupt

her friendship with Taylor Swift, they have subpoenaed the music star, even though Ms. Swift

has no connection to the workplace harassment and retaliation at issue in this dispute. 38 Whether

or not these high-visibility abusive tactics work against Ms. Lively, they almost certainly will

deter survivors from coming forward with allegations of sexual assault and harassment in their

own lives.

        Moreover, the public will recognize that Ms. Lively’s legal defense, if forced to proceed,

will be very expensive. While she is in the privileged position of at least being able to afford a

legal defense, low- and moderate-income survivors are not. Even if the Baldoni Plaintiffs’ suit

eventually fails and Ms. Lively recovers her fees and costs at the end of this litigation, a ruling in

the Baldoni Plaintiffs’ favor will chill other victims from speaking out. The specter of having to

endure the invasive and traumatic discovery process while also lacking the resources to pay costs

or attorneys’ fees during litigation is more than enough to force survivors into onerous settlement



37
  See, e.g., Hannah Stevens & Karen Nikos-Rose, When It Comes to Reporting on Sexual Assault in
Media, Words Matter, UC Davis (Sept. 28, 2021), https://www.ucdavis.edu/curiosity/news/when-it-
comes-reporting-sexual-assault-media-words-matter.
38
  See ECF No. 103 (granting motion to strike letter filed by Mr. Baldoni’s counsel because the “sole
purpose of the Letter is to promote public scandal by advancing inflammatory accusations, on information
and belief, against Lively and her counsel” and noting that the Letter suggests “that Lively and her
counsel attempted to ‘extort’ a well-known celebrity”—Taylor Swift). See also Elizabeth Wagmeister &
Dan Heching, Taylor Swift Subpoenaed in Blake Lively and Justin Baldoni Case, CNN (May 10, 2025,
12:37 AM ET), https://www.cnn.com/2025/05/09/entertainment/taylor-swift-subpoenaed-lively-baldoni-
case.


                                                 - 16 -
terms to avoid further litigation or to dissuade them from speaking out about the abuse they

suffered. 39

        In short, based on the pleadings here, the Baldoni Plaintiffs’ retaliatory defamation

lawsuit is the prototypical suit that the California Legislature intended to short circuit by enacting

AB 933. It weaponizes the DARVO technique to recast Mr. Baldoni as the victim to undermine

Ms. Lively’s credibility while also attempting to leverage the powerful tool of abusive discovery

to further persecute her. Granting Ms. Lively’s motion to dismiss based on AB 933 would allow

the law to work as intended by providing early protection and relief for survivors who speak out

about sexual harassment. Denying Ms. Lively’s motion to dismiss, on the other hand, will

encourage abusers to use defamation suits to silence victims and will chill victims’ willingness to

report sexual assault and harassment in future—the exact opposite of the intent of AB 933. 40




39
  Yvonne Chin, Exposing the Legal Bully: How Abusive Litigation Undermines Justice, National Crime
Victim Law Inst. (May 20, 2024), https://ncvli.org/exposing-the-legal-bully-how-abusive-litigation-
undermines-justice/.
40
   In addition to chilling survivors from coming forward, this result would chill attorneys from
representing or zealously advocating for clients like Ms. Lively for fear of creating liability for their
clients. While attorneys cannot be sued for what they say in the context of the litigation itself (under the
litigation privilege), many attorneys must make additional statements to advance their client’s interests
and the public’s understanding of the problem, particularly on matters of public interest. If the agent-
principal relationship between attorney and client were found not to fall under the privilege enacted by
AB 933, attorneys would risk exposure to additional defamation liability for their client if they make
certain out-of-court statements in support of their client’s allegations.
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                                        CONCLUSION

       For the reasons set forth above, Amici respectfully urge the Court to grant Ms. Lively’s

motion to dismiss.


Dated: May 27, 2025                         Respectfully submitted,

                                            /s/ Dana Bolger
                                            DANA BOLGER
                                            KATZ BANKS KUMIN LLP
                                            111 Broadway, Suite 1702
                                            New York, New York 10006
                                            Tel: (646) 759-4501
                                            Email: bolger@katzbanks.com

                                            ALEXIS RONICKHER*
                                            REBECCA PETERSON-FISHER*
                                            RACHEL E. GREEN*
                                            KATZ BANKS KUMIN LLP
                                            235 Montgomery Street, Suite 665
                                            San Francisco, California 94104
                                            Tel: (415) 813-3260
                                            Email: ronickher@katzbanks.com
                                            Email: peterson-fisher@katzbanks.com
                                            Email: green@katzbanks.com
                                            * Pro hac vice forthcoming

                                            Counsel for Proposed Amici Curiae




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